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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  IN RE: Robert A Donald
                                Debtor(s)                                     Chapter 13

  Lakeview Loan Servicing, LLC
                             Moving Party
              vs.                                                        NO. 22-13337 PMM

  Robert A Donald
                                Debtor(s)
                                                                   11 U.S.C. Sections 362 and 1301
  Edward Costigan
  Christine A Costigan
                                Co-Debtors

  and Kenneth E. West
                                Trustee


                                   CERTIFICATION OF DEFAULT

        I, Denise Carlon, Esquire, attorney for Moving Party, certify that Debtor(s) have defaulted upon
  the terms of the Stipulation. It is further certified that the attached notice dated June 12, 2024, was
  served upon the Debtor(s) and Debtor’s Attorney on said date. Subsequent to said notice, the Debtor(s)
  have failed to cure the default. Accordingly, the Court shall enter the attached Order granting the
  Moving Party relief from the automatic stay.


        July 29, 2024
                                                        /s/ Denise Carlon
                                                        Denise Carlon, Esq.
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